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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK



                                                 :
  GARY KOOPMANN, TIMOTHY KIDD and                         Civ. Action No: 15-cv-07199-JMF
                                                 :
  VICTOR PIRNIK, Individually and on Behalf of :
  All Others Similarly Situated,                 :
                                                 :
                                     Plaintiffs, :
                                                 :
                          v.                     :
                                                 :
  FIAT CHRYSLER AUTOMOBILES N.V.,                :
  FCA US LLC, SERGIO MARCHIONNE,                 :
  RICHARD K. PALMER, SCOTT                       :
  KUNSELMAN, MICHAEL DAHL, STEVE                 :
  MAZURE and ROBERT E. LEE                       :
                                                 :
                                 Defendants.     :
                                                 :


              NOTICE OF MOTION FOR CLASS CERTIFICATION

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in

Support of their Motion for Class Certification, dated December 21, 2017, the accompanying

Declaration of Jeremy A. Lieberman, dated December 21, 2017, and the exhibits attached

thereto, and all prior papers and proceedings herein, Lead Plaintiffs Gary Koopmann and

Timothy Kidd and Plaintiff Victor Pirnik, through their undersigned attorneys, will move this

Court, before the Honorable Jesse M. Furman, at the Thurgood Marshall United States

Courthouse, 40 Foley Square, New York, New York 10007, on a date and a time designated by

the Court, for an Order: (1) certifying this action pursuant to Rule 23(a) and Rule 23(b)(3) as a

class action and certifying the Class defined herein; (2) appointing Gary Koopmann, Timothy
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Kidd and Victor Pirnik as Class Representatives and (3) appointing Pomerantz LLP and The

Rosen Law Firm P.A. as Counsel for the Class.

Dated: December 21, 2017                              Respectfully submitted,

                                                      POMERANTZ LLP

                                                      /s/ Jeremy A. Lieberman
                                                      Jeremy A. Lieberman
                                                      Michael J. Wernke
                                                      Veronica V. Montenegro
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                                                      Co-Lead Counsel for Plaintiffs
